            Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 1 of 14



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 GRACIELA DONCOUSE,

                                       Plaintiff,
                                                             COMPLAINT
                    -against-
                                                             Civil Action No. 1:24-cv-1268

 CANNABIS CULTURE CORPORATION
 AND L&E BROKERAGE INC.,

                                       Defendants.


             Plaintiff, GRACIELA DONCOUSE, (“Plaintiff”), by and through her counsel, The

Marks Law Firm, P.C., hereby files this Complaint against CANNABIS CULTURE

CORPORATION (“Cannabis Culture”), and L&E BROKERAGE INC. (“L&E BROKERAGE;”

collectively with Cannabis Culture hereinafter referred to as “Defendants”) seeking equitable,

injunctive, and declaratory and relief; monetary and nominal damages; along with attorney’s fees,

costs, and expenses pursuant to: Title III of the Americans with Disabilities Act 42 U.S.C.

§§12181, et. Seq. (“ADA”); the New York City Human Rights Law (“NYCHRL”); and the New

York State Human Rights Law (“NYSHRL”), and hereby alleges the following:

                                  JURISDICTION & VENUE

       1.       This Court is vested with jurisdiction pursuant to 28 U.S.C. §1331 and §1343

because this is an action for declaratory and injunctive relief pursuant to Title III of the ADA.

       2.       Venue is proper pursuant to 28 U.S.C. §1391(B) because the events giving rise to

this lawsuit occurred in the State of New York, County of New York, at the property known as

and located at 163 8th Ave., New York, NY 10011 (hereinafter “Defendants’ Premises;” which

includes the commercial space, commercial establishment, and public accommodation therein).
            Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 2 of 14



       3.       This Court has supplemental jurisdiction over Plaintiff’s related claims arising

under the New York State and City laws pursuant to 28 U.S.C. § 1367(a).

       4.       The remedies provided by the NYSHRL against discrimination are not exclusive,

and state administrative remedies need not be exhausted in connection with suits brought under

the Federal Civil Rights Act.

                                            PARTIES

       5.       Plaintiff is a natural person and resident of the State of New York and New York

County.

       6.       Plaintiff is a paraplegic who uses a wheelchair for mobility, which constitutes a

“qualified disability” under the ADA.

       7.       Cannabis Culture is a domestic corporation authorized to conduct business within

the State of New York.

       8.       At all times relevant to this action and upon information and belief, Cannabis

Culture owns, leases, operates, maintains, and controls all, or the relevant portions, of Defendants’

Premises.

       9.       L&E BROKERAGE is incorporated and authorized to conduct business within the

State of New York.

       10.      At all times relevant to this action and upon information and belief, L&E

BROKERAGE owns, leases, operates, maintains, and controls Defendants’ Premises.

       11.      The ADA, NYSHRL, NYCHRL, et seq. impose joint and several liability on both

the owner and lessee of a public accommodation.




                                                 2
         Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 3 of 14



       12.     Defendants, jointly and individually, are a public accommodation as they

respectively own, lease, control, maintain, and operate all, or the relevant portions, of Defendants’

Premises.

                     FACTS COMMON TO ALL CAUSES OF ACTION

       13.     Defendants’ Premises is a public accommodation as defined by the ADA,

NYSHRL, NYCHRL, et seq. because it, inter alia, provides goods and services to the public and

is required to comply with the ADA, NYSHRL, NYCHRL, et seq.

       14.     Defendants’ Premises is a commercial space as defined by the NYSHRL, and

NYCHRL because, inter alia, a portion of the building and structure thereof used or intended to

be used as a business, office, and commerce.

       15.    November 22, 2022 and on other occasions thereafter, Plaintiff attempted to enter

Defendants’ Premises to purchase Defendant’s signature assortment, which operates a popular and

centrally located Cannabis dispensary which is known for its famous Cannabis Culture Magazine.

Defendants’ Premises is approximately .3 miles from Plaintiff’s home.

       16.    Because the existing barriers prevent access and restrict the paths of travel, such as

a step at the entrance, Plaintiff was unable to enter Defendants’ Premises.

       17.    Because the existing barriers prevent access and restrict the paths of travel, such as

a step at the entrance, Plaintiff was denied full and equal access to, and full and equal enjoyment

of, the commercial space and public accommodations within Defendants’ Premises.

       18.    Because the existing barriers prevent access and restrict the paths of travel into and

within Defendants’ Premises, Plaintiff was unable shop and purchase CBD cartridges or assorted

CBD products, which is an alternative source of medicine to alleviate her pain. Nor was Plaintiff

offered any assistance in entering Defendants’ Premises. As a result, Plaintiff was forced to find




                                                 3
          Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 4 of 14



another store provides free travel and independently access as required by the ADA, NYSHRL,

NYCHRL, et seq.

        19.     Plaintiff has since returned to Defendants’ Premises because it is in her

neighborhood; however, the barriers that prevent access and restrict the paths of travel remain, and

Plaintiff continues to be denied access is deterred from returning based on her knowledge that the

barriers exist. Accordingly, Plaintiff has and continues to suffer an injury in fact.

        20.     Defendants denying Plaintiff the opportunity to participate in and benefit from the

services or accommodations offered within Defendants’ Premises because of her disability has

caused Plaintiff to suffer an injury in fact.

        21.     Plaintiff intends on immediately returning to Defendants’ Premises once the

barriers are removed and Defendants’ Premises are ADA compliant.

        22.     Defendants’ failure to comply with the ADA, NYSHRL, NYCHRL, et seq. impede

upon the rights Plaintiff, and other similarly situated disabled individuals, to travel free of

discrimination and independently access Defendants’ Premises.

                                  COUNT I
              VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

        23.     Plaintiff repeats and reiterates each and every allegation contained in the above

paragraphs as if fully set forth at length herein

        24.     The ADA prohibits discrimination on the basis of disability by, inter alia,

guaranteeing individuals with disabilities are provided with reasonable accommodations that

enable free travel and independent access to commercial establishments, commercial spaces, and

public accommodations by the owners and operators of same.

        25.     The ADA, the 2004 ADA/ABA Accessibility Guidelines for Buildings and

Facilities (36 CFR Part 1191, Appendices B and C) along with 28 CFR Part 36, Subpart D, the



                                                    4
          Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 5 of 14



New Construction and Alterations portion of Title III (collectively referred to as the “Accessibility

Standards”) establish that property owners and the operators of commercial establishments,

commercial spaces, and public accommodations are responsible for complying with these

Accessibility Standards.

       26.     Upon information and belief, Defendants’ Premises was built before January 26,

1990, and subsequently has undergone substantial remodeling, repairs, and alterations.

       27.     Defendants have discriminated, and continue to discriminate, against Plaintiff and

others that are similarly situated by denying full and equal access to, and full and equal enjoyment

of, the goods, services, facilities, privileges, advantages, and accommodations offered by

Defendants at Defendants’ Premises, in violation of the Accessibility Standards.

       28.     Plaintiff has been, and continues to be, unable to enjoy full and equal safe access

to, and the benefits of, all the accommodations and services offered by Defendants at Defendants’

Premises.

       29.     Plaintiff visited Defendants’ Premises with the intention of utilizing the commercial

establishments, commercial spaces, and public accommodations within Defendants’ facilities but

was denied access because of the barriers that prevent access and restrict the paths of travel, and

therefore suffered an injury in fact.

       30.     Plaintiff continues to reside in New York and desires to visit Defendants’ Premises

in the future but continues to be injured by Defendants’ failure to remove the barriers that prevent

access and restrict the paths of travel to and from Defendants’ Premises. Accordingly, Plaintiff

continues to be discriminated against in violation of the ADA, NYSHRL, NYCHRL, et seq.

       31.     Pursuant to the mandates of 42 U.S.C. §12134(a), On July 26, 1991, the Department

of Justice, Office of Attorney General, promulgated Federal Regulations to implement the




                                                 5
            Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 6 of 14



requirements of the ADA, known as the American with Disabilities Act Accessibility Guidelines

(hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said Department may obtain civil

penalties of up to $55,000 for the first violation and $110,000 for any subsequent violation.

       32.      Defendants’ Premises is in violation of the ADA, 42 U.S.C. §12181 et. Seq., and

the Accessibility Standards, and is discriminating against the Plaintiff, in pertinent part, as a result

of the following violations:

       a.    Due to the concrete step leading to the entrance, the Property lacks an access route

             from site arrival points such as the public streets and sidewalks to the accessible

             entrance in violation of Sections 206.2.1, 206.4.5, 303.2, 303.4 and 404.2.4 of the 2010

             ADAAG Standards.

       b. Failure to provide a safe an accessible means of egress for emergencies.

       c. Failure to provide adequate directional and accurate informational signage throughout

             the Premises.

       d. Failure to provide signage addressing people with disabilities informing them that

             accessible services are provided.

       e. Failure to provide at least one of each type of sales counter and/or service counter

             complying with section 904.4 of 2010 ADAAG Standards in violation of section 227.3

             of 2010 ADAAG Standards.

       f. The merchandise/ merchandise displays throughout the Premises are inaccessible in

             violation of section 308 of 2010 ADAAG Standards.

       g. Defendants fail to adhere to a policy, practice and procedure to ensure that all facilities

             are readily accessible to and usable by disabled individuals.




                                                   6
          Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 7 of 14



       33.     Upon information and belief, there are other current violations of, inter alia, the

ADA, NYSHRL, NYCHRL, et seq. at Defendants’ Premises, and only once a full inspection is

done can all said violations be identified.

       34.     To avoid fragmentary litigation, Plaintiff requires a full inspection of Defendants’

Premises to identify Defendants’ joint and several violations of and non-compliance with the

ADA, NYSHRL, NYCHRL, et seq. As such, notice is therefore given that Plaintiff intends to

amend the Complaint to include any violations discovered during an inspection that are not

contained in this Complaint that Defendants must remediate.

       35.     To date, the barriers and other violations of the ADA at and within the Defendants’

Premises still exist, and the removal of same are readily achievable; however, these violations have

not been remedied or altered in such a way as to effectuate compliance with the provisions of the

ADA, NYSHRL, NYCHRL, et seq.

       36.     Pursuant to ADA, 42 U.S.C. §1201 et. Seq. and the Accessibility Standards,

Defendants were required to make Defendants’ Premises, a place of public accommodation,

accessible to person with disabilities since January 28, 1992. To date, the Defendants have failed

to comply with this mandate.

       37.     Defendants failed to make alteration accessible to Defendants’ Premises to the

maximum extent feasible.

       38.     Defendants failed to make all readily achievable accommodations and

modifications that would remove barriers and create independent access to Defendants’ Premises.

       39.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff injunctive relief; including an order to alter Defendants’ Premises to make them readily




                                                 7
          Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 8 of 14



accessible to, and useable by, individuals with disabilities to the extent required by ADA, and order

the closing of Defendants’ Premises until the required modifications are completed.

        40.     Plaintiff has suffered and will continue to suffer damages because of Defendants,

joint and several, violations of the ADA in an amount to be determined at trial or by the Court,

along with an award of Plaintiff’s reasonable attorneys’ fees, expenses, and costs as provided for

by the ADA.

                                   COUNT II
              VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

        41.     Plaintiff repeats and reiterates each and every allegation contained in the above

paragraphs as if fully set forth at length herein.

        42.     The New York City Human Rights Law provides:

               a. It shall be an unlawful discriminatory practice for any person, being the
                  owner, lessee, proprietor, manager, superintendent, agent or employee of
                  any place or provider of public accommodation because of the actual or
                  perceived…disability…of any person, directly or indirectly, to refuse,
                  withhold from or deny to such person any of the accommodations,
                  advantages, facilities or privileges thereof…to the effect that any of the
                  accommodations, advantages, facilities and or denied to any person on
                  account of…disability…
                  NYC Admin. Code §8-107(4)(a).

        43.     Defendants’ Premises is a commercial space and public accommodation as defined

in the NYCHRL.

        44.     Defendants, jointly and severally, are in violation of the NYCHRL because they

have failed to remove existing barriers that prevent access and restrict the paths of travel into

commercial space and public accommodation within Defendants’ Premises.

        45.     Defendants, jointly and severally, are in violation of the NYCHRL because they

have failed to provide Plaintiff full and safe access to all of the benefits, accommodations and

services of the commercial space and public accommodation within Defendants’ Premises.



                                                     8
          Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 9 of 14



        46.     Defendants, jointly and severally, are in violation of the NYCHRL by intentionally

creating and maintaining an inaccessible commercial space and public accommodation within

Defendants’ Premises

        47.     Plaintiff has been directly harmed and damaged because of Defendants, joint and

several, violations of the NYCHRL.

        48.     Defendants have, jointly and severally, derived and collected revenue and

otherwise profited from their use of Defendants’ Premises in violation of the ADA, NYSHRL,

NYCHRL, et seq. As such, the any profits from the use of Defendants’ Premises should be

disgorged pursuant to NYCHRL.

        49.     Defendants, joint and several, violation of the ADA, NYSHRL, NYCHRL, et seq.,

and their years of unlawful discriminatory conduct constitutes willful and wanton conduct for

which Plaintiff is entitled to an award of punitive damages to be determined at trial or by the Court.

        50.     Plaintiff demands compensatory damages in an amount to be determined at trial or

by the Court, including all applicable statutory damages and fines, for Defendants, joint and

several, violation of her civil rights and the NYCHRL

        51.     Plaintiff has suffered and will continue to suffer damages because of Defendants,

joint and several, violations of the NYCHRL in an amount to be determined at trial or by the

Court, along with an award of Plaintiff’s reasonable attorneys’ fees, expenses, and costs as

provided for by the NYCHRL.



                                COUNT III
           VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

        52.     Plaintiff repeats and reiterates each and every allegation contained in the above

paragraphs as if fully set forth at length herein.



                                                     9
         Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 10 of 14



       53.     The New York State Human Rights Law provides:

             a. It shall be unlawful discriminatory practice for any person, being the
                owner, lessee, proprietor, manager, superintendent, agent, or employee of
                any place of public accommodation…because of the…disability…of any
                person, directly, or indirectly, to refuse, withhold from or deny to such
                person any of the accommodations, advantages, facilities, or privileges
                thereof…to the effect that any of the accommodations, advantages,
                facilities and privileges of any such place shall be refused, withheld from
                or denied to any person on account of…disability…
                NYS Exec. Law §296 (2)(a).

       54.     Defendants’ Premises is a commercial space and public accommodation as defined

in the NYSHRL.

       55.     Defendants, jointly and severally, are in violation of the NYSHRL because they

have failed to remove existing barriers that prevent access and restrict the paths of travel into the

commercial space and public accommodation within Defendants’ Premises.

       56.     Defendants, jointly and severally, are in violation of the NYSHRL because they

have failed to provide Plaintiff full and safe access to all of the benefits, accommodations and

services of the commercial space and public accommodation within Defendants’ Premises.

       57.     Defendants, jointly and severally, are in violation of the NYSHRL by creating and

maintaining an inaccessible commercial space and public accommodation within Defendants’

Premises

       58.     Plaintiff has been directly harmed and damaged because of Defendants, joint and

several, violations of the NYSHRL.

       59.     Defendants have, jointly and severally, derived and collected revenue and

otherwise profited from their use of Defendants’ Premises in violation of the ADA, NYSHRL,

NYCHRL, et seq. As such, the any profits from the use of Defendants’ Premises should be

disgorged pursuant to NYCHRL.




                                                 10
            Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 11 of 14



        60.     Defendants, joint and several, violation of the ADA, NYSHRL, NYCHRL, et seq.,

and their years of unlawful discriminatory conduct constitutes willful and wanton conduct for

which Plaintiff is entitled to an award of punitive damages to be determined at trial or by the Court.

      61.      Plaintiff demands compensatory damages in an amount to be determined at trial or

by the Court, including all applicable statutory damages and fines, for Defendants, joint and

several, violation of her civil rights and the NYSHRL.

        62.     Plaintiff has suffered and will continue to suffer damages because of Defendants,

joint and several, violations of the NYSHRL in an amount to be determined at trial or by the Court,

along with an award of Plaintiff’s reasonable attorneys’ fees, expenses, and costs as provided for

by the NYSHRL.

                                          COUNT IV
                                      INJUNCTIVE RELIEF

        63.     Plaintiff repeats and reiterates each and every allegation contained in the above

paragraphs as if fully set forth at length herein.

        64.     Plaintiff will continue to experience unlawful discrimination as a result of

Defendants, joint and several, violation of the ADA, NYSHRL, NYCHRL, et seq.

        65.     The ADA, NYSHRL, and NYCHRL, each vest this Court with the authority to

grant injunctive relief that the court deems proper.

        66.     A permanent injunction is needed forthwith to order Defendants, jointly and

severally, to immediately alter Defendants’ Premises and make the commercial space and public

accommodation therein readily accessible to and usable by Plaintiff and other persons with

disabilities in accordance with the ADA, NYSHRL, NYCHRL, et seq.

        67.     A permanent injunction is also needed forthwith to order Defendants, jointly and

severally, to immediately provide appropriate auxiliary aids or services, modifications of



                                                     11
         Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 12 of 14



Defendants respective policies, or provisions of alternative methods in accordance with the ADA,

NYSHRL, NYCHRL, et seq.

       68.        Should Defendants not immediately comply with this Court’s orders for the

permanent injunctive relief prayed for above, the Court should order the immediate closure of

Defendants’ Premises until such time that Defendants’ Premises is made fully compliant with the

ADA, NYSHRL, NYCHRL, et seq.

       69.        Defendants have no defenses or justifications for their violations of the ADA,

NYSHRL, NYCHRL, et seq.

       70.        Because of Defendants’ years of non-compliance with the ADA, NYSHRL,

NYCHRL, et seq., Plaintiff has no adequate remedy at law.

                                      PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff hereby demands judgment against the Defendants, jointly

and severally, as follows:

             a.      A declaratory judgment that Defendants, jointly and severally, are in
                     violation of the ADA, NYSHRL, NYCHRL, et seq. in their ownership,
                     leasing, control, maintenance, and operation of the commercial space
                     and public accommodation within Defendants’ Premises;

             b.      A permanent injunction forthwith ordering Defendants, jointly and
                     severally, to immediately alter Defendants’ Premises and make
                     facilities readily accessible to and usable by Plaintiff and other persons
                     with disabilities in accordance with the ADA, NYSHRL, NYCHRL, et
                     seq.;

             c.      A permanent injunction forthwith ordering Defendants, jointly and
                     severally, to immediately provide where appropriate auxiliary aids or
                     services, modifications of Defendants respective policies, or provisions
                     of alternative methods in accordance with the ADA, NYSHRL,
                     NYCHRL, et seq.;

             d.      Should Defendants not immediately comply with this Court’s orders
                     for the permanent injunctions prayed for herein, the Court should
                     immediately order the closure of Defendants’ Premises as to



                                                   12
       Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 13 of 14



                Defendants, jointly and severally, until such time that Defendants’
                Premises is made fully compliant with the ADA, NYSHRL, NYCHRL,
                et seq.;

           e.   An award of compensatory damages in an amount to be determined at
                trial or by the Court as provided for by the ADA, NYSHRL, NYCHRL,
                et seq.;

           f.   An award of compensatory damages in an amount to be determined at
                trial or by the Court as provided for by the NYSHRL, and NYCHRL,
                et seq.;

           g.   An award of reasonable attorney fees, expenses, and costs; and

           h.   Such other and further relief as this Court deems necessary, just and
                proper.

Dated: New York, New York
       February 20, 2024

                                        THE MARKS LAW FIRM, PC


                                        By: ______________________
                                            Bradly G. Marks, Esq.
                                            155 E 55th Street, Suite 4H
                                            New York, NY 1002
                                            T:(646) 960-7820
                                            F: (646) 770- 2639
                                            E: Brad@markslawpc.com




                                            13
      Case 1:24-cv-01268-VSB Document 1 Filed 02/20/24 Page 14 of 14




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GRACIELA DONCOUSE,

                             Plaintiff,

             -against-

CANNABIS CULTURE CORPORATION
AND L&E BROKERAGE INC.,

                             Defendants.


                         SUMMONS AND COMPLAINT


                          THE MARKS LAW FIRM, PC
                            Attorney for Plaintiff
                           155 E 55th Street, Suite 4H
                            New York, NY 10022




                                          14
